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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3117
                                         )
             v.                          )
                                         )
TRAVES RUSH,                             )      MEMORANDUM AND ORDER
                                         )
                    Defendant.           )
                                         )

       Predicated upon Descamps v. United States, 133 S. Ct. 2276 (2013) (courts may
not apply the modified categorical approach to sentencing under ACCA when the
crime of which the defendant was convicted has a single, indivisible set of elements)
and Alleyne v. United States, 133 S. Ct. 2151 (2013) (any fact that increases
mandatory minimum sentence for crime is “element” of crime, not “sentencing
factor,” that must be submitted to jury, overruling Harris v. United States), the
defendant has filed a section 2255 motion.

       However, since the defendant did not seek permission from the Court of
Appeals to file this second or successive motion (see, e.g., filing no. 239), and since
neither Supreme Court case has been deemed to be retroactive by the Supreme Court,
see, e.g., Groves v. United States, --- F.3d ----, 2014 WL 2766171*4 (7th Cir., June
19, 2014. * 4 (“To date, the Supreme Court has not made Descamps retroactive on
collateral review.”); United States v. Reyes, --- F.3d ----, 2014 WL 2747216 *2 (3rd
Cir., June 18, 2014) (“the Supreme Court has not chosen to apply Alleyne's new rule
retroactively to cases on collateral review.”),

      IT IS ORDERED:

      1.     The Motion to Vacate under 28 U.S.C. § 2255 (filing no. 243) is denied
             for these separate reasons: (a) the pending motion is a second or
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            successive 2255 motion for which no permission to file has been
            obtained from the Court of Appeals and (b) the motion has no merit.

      2.    A separate judgment will be issued. No certificate of appealability will
            be issued by the undersigned.

      DATED this 4th day of August, 2014.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      Senior United States District Judge




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